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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  ZIP TOP, INC.                                       Civil Action No.: 22-cv-05028

                 Plaintiff,
                                                      JURY TRIAL DEMANDED
           v.
                                                      PATENT CASE
  S.C. JOHNSON & SON, INC.

                 Defendant.



                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT


         Plaintiff Zip Top, Inc. (“Zip Top”) files this Original Complaint for Patent Infringement

against Defendant S.C. Johnson & Son, Inc. (“SCJ”) and would respectfully show the Court as

follows:

                                             PARTIES

         1.     Plaintiff Zip Top is a corporation organized and existing under the laws of the State

of Delaware, with its principal place of business at 13501 Galleria Circle, Suite 220, Austin, Texas

78738.

         2.     Zip Top is the successor-in-interest to Zip Top, LLC, which was a Texas Limited

Liability Company. Zip Top, LLC was converted to Zip Top, Inc., a Texas corporation. Zip Top,

Inc. (TX) was converted to Zip Top, Inc., which is a Delaware corporation and the plaintiff.

         3.     On information and belief, Defendant SCJ is a Wisconsin corporation that

maintains its principal place of business at 1525 Howe Street, Racine, Wisconsin 53403.




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                                   NATURE OF THE ACTION

       4.      This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq.

       5.      This action arises under 35 U.S.C. § 271, wherein Defendant SCJ infringes the

Asserted Patents, U.S. Patent No. 11,358,755 (the “’755 patent”) and U.S. Patent No. 11,383,890

(the “’890 patent”), by making, using, offering for sale, selling, and/or importing Ziploc

ENDURABLES containers.

                                 JURISDICTION AND VENUE

       6.      This is an action for patent infringement arising under the Patent Laws of the United

States, Title 35 of the United States Code.

       7.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       8.      On information and belief, SCJ maintains an established place of business in the

state of Illinois and this district, specifically including its North American regional headquarters

located at 550 W Washington Blvd., Chicago, IL 60661. On information and belief, the activities

conducted by SCJ and its employees at this facility located in Chicago, Illinois are substantially

related to SCJ’s infringing activities conducted in this state.

       9.      On information and belief, SCJ sells and offers for sale infringing products through

its interactive website – Ziploc.com – making that website available to persons in the State of

Illinois, and facilitating the sale of infringing products through that website to those persons for

delivery by Walmart, Target, Amazon, Kroger, and Meijer. In particular, the warehouse stores

inventory used to fulfill SCJ’s digital sales, and along with free shipping and same day delivery,

SCJ offers its e-commerce customers the opportunity for in-store pickup of products ordered




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through Ziploc.com. On information and belief, SCJ operates and controls all content and software

used on the Ziploc.com website.

        10.     Without limitation, on information and belief, SCJ has derived revenues from its

infringing acts occurring within Illinois.

        11.     This Court has personal jurisdiction over Defendant, because Defendant has

sufficient minimum contacts within the State of Illinois and this judicial district, pursuant to due

process and/or the Illinois Long-Arm Statute, due at least to its business in this forum, including

at least a portion of the infringements alleged herein. Defendant has purposefully availed itself of

the privileges of conducting business in the State of Illinois by regularly conducting and soliciting

business within the State of Illinois and within this judicial district, and because Plaintiff’s causes

of action arise directly from Defendant’s business contacts and other activities in the State of

Illinois and this judicial district.

        12.     SCJ is subject to the Court’s general jurisdiction, including from regularly doing or

soliciting business, engaging in other persistent courses of conduct, and deriving substantial

revenue from goods and services provided to persons or entities in Illinois. Further, SCJ is subject

to the Court’s personal jurisdiction at least due to its sale of products and/or services within Illinois.

SCJ has committed such purposeful acts and/or transactions in Illinois such that it reasonably

should know and expect that it could be haled into this Court as a consequence of such activity.

        13.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b).

                             ZIP TOP INVENTOR’S BACKGROUND

        14.     Zip Top’s inventor and founder, Rebecca Finell, has proven herself as a product

designer and brand strategist.




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       15.     In 2004, she founded Boon Inc., and served as its president, principal designer, and

chief brand strategist. Through Boon, she invented and marketed innovative and award winning

baby products, including: the Boon™ green grass drying rack, the Boon™ squirt spoon, and the

Boon™ “Frog Pod,” which is a stylish tool for scooping toys out of a bathtub and hanging them

out of the way to dry.




       16.     Detailed   information    about   these   BOON™       products    is   available   at

www.booninc.com.

       17.     In 2008, Rebecca Finell started Keen Distribution and served as its CEO. Keen

took other brand's baby products and distributed them into the U.S. market. It grew very fast, more

than $5M in year one. Keen elevated many products, including the Bumbo™

baby seat with branding, product redesigns, packaging, photography,

marketing, copy, new line extensions. Rebecca Finell personally showed/sold

each product line to big mass market buyers in the U.S. market.

       18.     In 2011, Rebecca Finell sold Keen Distribution and Boon, Inc. as a package deal to

TOMY for over $31 million, while retaining an ownership piece of the TOMY company.

       19.     In 2013, Rebeca Finell launched Finell Co. LLC to develop FINELL® branded

luxury products, including a line of tabletop accessories, serving trays, bowls, and even handbags.

Finell Co. LLC quickly received international design recognition, awards, and the attention of top

luxury stores. These products continue to be featured in high-profile press and movies.



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       20.     Rebecca Finell invented and designed many FINELL® products made of silicone

because of its strength, flexibility and versatility. For example, FINELL® silicone products

include vessels and placemats/runners of different silicone shapes and colors.




                                 THE ASSERTED PATENTS

       21.     Zip Top incorporates the above paragraphs herein by reference.

       22.     On June 14, 2022, United States Patent No. 11,358,755 (“the ’755 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ’755 Patent is titled

“Flexible Foodstuff Container with Closure.” A true and correct copy of the ’755 Patent is attached

hereto as Exhibit A and incorporated herein by reference.




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       23.     On July 12, 2022, United States Patent No. 11,383,890 (“the ’890 Patent”) was duly

and legally issued by the United States Patent and Trademark Office. The ’890 Patent is titled

“Silicone Molding Process for Making a Container with Zipper Members Tapered at a Flexible

Spout.” A true and correct copy of the ’890 Patent is attached hereto as Exhibit B and incorporated

herein by reference.

       24.     Zip Top is the successor-in-interest of the assignee of all right, title, and interest in

the Asserted Patents (the ’755 and ’890 Patents), including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Asserted Patents. Accordingly, Zip Top possesses the exclusive right and standing to prosecute

the present action for infringement of the Asserted Patents against SCJ.

      ZIP TOP’S INNOVATION OF PATENTED INVENTIONS AND PRODUCTS

       25.     Zip Top incorporates the above paragraphs herein by reference.

       26.     In 2017, Rebecca Finell, as chief product designer for Finell Co LLC, began to

develop her ideas for a silicone container.

       27.     Later, Zip Top LLC was formed as a Texas Limited Liability Company to spin the

Zip Top™ products out of Finell Co.




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       28.     During March 10-13, 2018 at the International Home + Housewares Show in

Chicago, Illinois, Zip Top presented to prospective retail buyer representatives its Zip Top® line

of endlessly reusable 100% platinum silicone containers that stand up, stay open and zip shut.




       29.     Zip Top’s silicone container product innovations of the Asserted Patents have been

widely praised and recognized in the industry.




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       30.    Since 2018, Zip Top has successfully marketed its Zip Top® silicone containers of

the Asserted Patents through national retailers, ecommerce, direct-to-consumer marketing, and its

website (www.ziptop.co).




     ACCUSED INSTRUMENTALITIES—ZIPLOC ENDURABLES CONTAINERS

       31.    Zip Top incorporates the above paragraphs herein by reference.

       32.    Now and within the past six years, SCJ makes, uses, causes to be used, offers for

sale, sells, and/or imports Ziploc ENDURABLES containers (Accused Instrumentalities).




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       33.     Upon information and belief, the Accused Instrumentalities, now and within the

past six years, are being distributed through retail stores including, but not limited to, Walmart,

Target, Amazon, Kroger, HEB, and Meijer.

       34.     Upon information and belief, Plaintiff Zip Top’s brand is being harmed by

Defendant SCJ’s Accused Instrumentalities entering the market. Plaintiff Zip Top was first to

market and is substantially ahead of all other relevant companies in terms of brand equity, meaning

that Plaintiff Zip Top has the greatest amount of brand equity to lose. SCJ’s patent infringement

will lead to Plaintiff Zip Top losing market share. Each sale of SCJ’s product likely deprives

Plaintiff Zip Top of market share, revenue, and brand recognition.

       35.     While still infringing the Asserted Patents, the Accused Instrumentalities

introduced in the silicone container market by Defendant SCJ are of lesser quality and inferior

design compared to Zip Top® silicone containers. Upon information and belief, Defendant SCJ’s

entry into the container market with an inferior silicone container is having an adverse effect on

Plaintiff Zip Top’s reputation and sales because customers assume all silicone containers are of

inferior quality regardless of which entity has manufactured and marketed them.

             COUNT I — PATENT INFRINGEMENT U.S. PAT. NO. 11,358,755

       36.     Zip Top incorporates the above paragraphs herein by reference.

       37.     Upon information and belief, SCJ has directly infringed under 35 U.S.C. § 271(a)

at least claim 1 of the ’755 Patent by making, using, selling, importing, offering for sale, providing,

practicing, and causing to be used the Accused Instrumentalities that infringe the patented

containers, as detailed in the preliminary claim chart attached hereto as Exhibit C and incorporated

herein by reference.




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       38.     SCJ was made aware of the ʼ755 Patent and its infringement thereof at least as early

as the filing of this Complaint.

       39.     Upon information and belief, SCJ has induced and continues to induce others to

infringe at least claim 1 of the ’755 Patent under 35 U.S.C. § 271(b) by, among other things, and

with specific intent or willful blindness, actively aiding and abetting others to infringe, including,

but not limited to SCJ’s partners, clients and customers, whose use of the Accused

Instrumentalities constitutes direct infringement of at least claim 1 of the ’755 Patent.

       40.     In particular, SCJ’s actions that aid and abet others such as its partners, clients and

customers to infringe include advertising and distributing the Accused Instrumentalities and

providing instructional materials and services regarding the Accused Instrumentalities.

       41.     Any party, including SCJ’s partners, clients and customers using the Accused

Instrumentalities necessarily infringes the ʼ755 Patent. SCJ thus induces others to infringe the ʼ755

Patent. SCJ has knowingly induced infringement since at least the filing of this Complaint when

SCJ was first made aware of the ʼ755 Patent.

       42.     Upon information and belief, SCJ is liable as a contributory infringer of the ʼ755

patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United States

the Accused Instrumentalities that infringe the patented container, to be especially made or adapted

for use in an infringement of the ’755 Patent. Each of the Accused Instrumentalities is a material

component for use in practicing the ʼ755 Patent and is specifically made and are not a staple article

of commerce or capable of substantial non-infringing use.

       43.     Plaintiff Zip Top has been harmed by SCJ’s infringing activities. Thus, SCJ is liable

to Zip Top in an amount that adequately compensates Zip Top for such infringements, which, by




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law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       44.     Plaintiff Zip Top has suffered, and is continuing to suffer, damages as a result of

the Defendant SCJ’s infringement of the Asserted Patents, and Plaintiff Zip Top is entitled to

compensation, including Defendant SCJ’s profits, and other monetary relief to the fullest extent

allowed by law, including attorneys’ fees, pursuant to 35 U.S.C. §§ 284, and 285.

             COUNT II — PATENT INFRINGEMENT U.S. PAT. NO. 11,383,890

       45.     Zip Top incorporates the above paragraphs herein by reference.

       46.     Upon information and belief, SCJ has directly infringed under 35 U.S.C. § 271(a)

at least claim 1 of the ’890 Patent by making, using, selling, importing, offering for sale, providing,

practicing, and causing to be used the Accused Instrumentalities that infringe the patented

containers, as detailed in the preliminary claim chart attached hereto as Exhibit D and incorporated

herein by reference.

       47.     Upon information and belief, SCJ has directly infringed under 35 U.S.C. § 271(g)

at least claim 1 of the ’890 Patent by importing, offering to sell, selling, and/or using the Accused

Instrumentalities made by the process claimed in the ’890 Patent, as detailed in the preliminary

claim chart attached hereto as Exhibit D and incorporated herein by reference.

       48.     SCJ was made aware of the ʼ890 Patent and its infringement thereof at least as early

as the filing of this Complaint.

       49.     Upon information and belief, SCJ has induced and continues to induce others to

infringe at least claim 1 of the ’890 Patent under 35 U.S.C. § 271(b) by, among other things, and

with specific intent or willful blindness, actively aiding and abetting others to infringe, including,




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but not limited to SCJ’s partners, clients and customers, whose use of the Accused

Instrumentalities constitutes direct infringement of at least claim 1 of the ’890 Patent.

       50.     In particular, SCJ’s actions that aid and abet others such as its partners, clients and

customers to infringe include advertising and distributing the Accused Instrumentalities and

providing instruction materials and services regarding the Accused Instrumentalities.

       51.     Any party, including SCJ’s partners, clients and customers using the Accused

Instrumentalities necessarily infringes the ʼ890 Patent. SCJ thus induces others to infringe the ʼ890

Patent. SCJ has knowingly induced infringement since at least the filing of this Complaint when

SCJ was first made aware of the ʼ890 Patent.

       52.     Upon information and belief, SCJ is liable as a contributory infringer of the ʼ890

Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United States

the Accused Instrumentalities that infringe the patented container, to be especially made or adapted

for use in an infringement of the ’890 Patent. Each of the Accused Instrumentalities is a material

component for use in practicing the ʼ890 Patent and is specifically made and are not a staple article

of commerce capable of substantial non-infringing use.

       53.     Plaintiff Zip Top has been harmed by SCJ’s infringing activities. Thus, SCJ is liable

to Zip Top in an amount that adequately compensates Zip Top for such infringements, which, by

law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       54.     Plaintiff Zip Top has suffered, and is continuing to suffer, damages as the result of

Defendant SCJ’s infringement of the Asserted Patents, and Plaintiff Zip Top is entitled to

compensation, including Defendant SCJ’s profits, and other monetary relief to the fullest extent

allowed by law, including attorneys’ fees, pursuant to 35 U.S.C. §§ 284, and 285.




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                                        JURY DEMAND

       Plaintiff Zip Top demands a trial by jury of all issues so triable.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Zip Top requests this Court to enter judgment against Defendant

SCJ, including SCJ subsidiaries, affiliates, agents, servants, employees, and all persons in active

concert or participation with Defendant SCJ, and grant the following relief:

   A. Entry of judgment that Defendant SCJ has directly infringed, contributorily infringed,

       and/or induced infringement of one or more claims of the ’755 Patent;

   B. Entry of judgment that Defendant SCJ has directly infringed, contributorily infringed,

       and/or induced infringement of one or more claims of the ’890 Patent;

   C. Damages in an amount adequate to compensate Plaintiff Zip Top for Defendant SCJ’s

       infringements to be determined at trial, which amount cannot be less than a reasonable

       royalty;

   D. Pre-judgment and post-judgment interest on the damages assessed at the maximum rate

       permitted by law;

   E. Entry of a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for SCJ’s

       willful infringement of the ’755 and ’890 Patents;

   F. A Court declaration that this is an exceptional case and award Plaintiff Zip Top its

       reasonable attorneys’ fees and expenses in accordance with 35 U.S.C. § 285;

   G. Issue a preliminary injunction and thereafter a permanent injunction enjoining and

       restraining Defendant SCJ, its directors, officers, agents, servants, employees, and those

       acting in privity or in concert with them, and their subsidiaries, divisions, successors, and




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     assigns, from further acts of infringement, contributory infringement, or inducement of

     infringement of the ’755 and ’890 Patents; and

  H. Such other and further relief, both at law and in equity, to which Plaintiff Zip Top may be

     entitled and which the Court deems just and proper.


Dated: September 15, 2022                         Respectfully submitted,


                                                  /s/ Brian E. Martin
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                                                                                              US011358755B2

( 12) United States Patent                                                   ( 10) Patent No .: US 11,358,755 B2
         Finell et al .                                                      (45 ) Date of Patent :   Jun . 14 , 2022
(54 ) FLEXIBLE FOODSTUFF CONTAINER WITH                                                FOREIGN PATENT DOCUMENTS
          CLOSURE
                                                                        CN              101312889 A      11/2008          A44B 19/16
( 71 ) Applicant: Rebecca Finell , Austin , TX (US )                    EP                0616948 A1      9/1994           B65D 1/00
                                                                                                  (Continued )
( 72 ) Inventors: Rebecca M. Finell , Austin , TX (US );
                   Joshua J. Nelson , Mesa , AZ (US )                                        OTHER PUBLICATIONS
( 73 ) Assignee : ZIP TOP LLC , Austin , TX (US )                       Partial European Search Report, Application No. 18159842.6 , 9
                                                                        pages.
( * ) Notice : Subject to any disclaimer, the term of this                                        (Continued )
                   patent is extended or adjusted under 35
                   U.S.C. 154 ( b ) by 0 days.
( 21 ) Appl. No .: 15 /910,757                                          Primary Examiner        Jes F Pascua
                                                                        Assistant Examiner Nina K Attel
(22) Filed :       Mar. 2 , 2018                                        (74 ) Attorney, Agent, or Firm Slayden Grubert Beard
( 65 )                   Prior Publication Data                         PLLC
          US 2018/0251267 A1         Sep. 6 , 2018
              Related U.S. Application Data                             (57 )                    ABSTRACT
( 60 ) Provisional application No. 62 / 466,156 , filed on Mar.         A sealable container comprising: a base having a geometric
          2 , 2017                                                      shape; sides extending from the base and defining a mouth
                                                                        opposite the base , wherein cross - sections of the sides par
( 51 ) Int . Ci.                                                        allel to the base have a geometric shape; and a seal of the
          B650 33/25             ( 2006.01 )                            mouth comprising: a first zipper member and a second
          A47G 19/02             ( 2006.01 )                            zipper member, wherein when the seal is closed to seal the
                           ( Continued )                                mouth the first and second zipper members engage each
( 52 )     J.S. Cl .                                                    other to make the seal and when the seal is open the first and
          CPC           B65D 33/2508 (2013.01 ) ; A47G 19/02            second zipper members disengage to break the seal , wherein
                         (2013.01 ) ; A476 19/2205 ( 2013.01 ) ;        the base , sides and seal comprise silicone , wherein the base
                           (Continued )                                 and at least a portion of the sides adjacent the base are of
( 58 ) Field of Classification Search                                   sufficient thickness and rigidity for the container to freely
       CPC              B65D 33/25 ; B65D 33/2508 ; B65D                stand vertically on its base with the mouth at the top , and
                  33/2516 ; B65D 33/2525 ; B65D 33/2533 ;               wherein the seal and at least a portion of the sides defining
                        (Continued )                                    the mouth are sufficiently flexible to allow the seal and side
                     References Cited
                                                                        portion to be deformed between open and closed mouth
( 56 )                                                                  configurations.
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                           ( Continued )                                                19 Claims , 16 Drawing Sheets
                                                                   53

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                                                                                                                   EXHIBIT A
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                                                                   US 11,358,755 B2
                                                                                Page 2

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          A476 19/22                  ( 2006.01 )                                        D399,708 S       10/1998 Grissom                D07 /629
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          B29C 35/02                  ( 2006.01 )                                        5,906,438   A     5/1999 Laudenberg               383/63
          B29C 43/00                  ( 2006.01 )                                        D418,368    S     1/2000 Solland                 D7 / 510
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(52 ) U.S. Ci .                                                                          6,164,822   A    12/2000 Beer                    383/38
          CPC             B29C 35/02 ( 2013.01 ) ; B29C 43/003                           6,164,826   A    12/2000 Petkovsek            383 /210.1
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( 58 ) Field of Classification Search                                                    D456,211    S     4/2002   Price                 D7 / 509
          CPC                B65D 33/2541 ; B65D 33/255 ; B65D                           D457,318    S     5/2002   Borland et al .     D03 /303
                                                                                         D464,258    S    10/2002   Edwards             D09 /708
                         33/2558 ; B65D 33/2566 ; B65D 33/2575 ;                         6,470,705   B2   10/2002   Bride - Flynn         62/530
                            B65D 33/2583 ; B65D 33/2591 ; B65D                           D470,361    S     2/2003   Trombly               D7 / 509
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          See application file for complete search history.                              7,029,178 B2     4/2006 Gzybowski                383/64
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        FIG . IA
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                              FIG . 1B                 ----
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                           FIG . 1C




                                            12           FIG . 1D




                   FIG . 1E


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         FIG . 1F                                      -.                        ********** * * * *
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              FIG . 16
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                       FIG . IH



                                                          FIG . 11




                   FIG , 1J
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        23                      22
                          DEN         20

                                                       FIG . 2B




                     21
             FIG . 2A


                                                               21
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                   22




                                                        FIG . 2C



                                                                       21



           FIG . 2D                        **
                                                        FIG . 2E
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                                 FIG . 2F


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                                       FIG . 26
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                22                                             22




        FIG . 2H                                   FIG . 21



                                                                    21




                                                   FIG . 2 )
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                                                            FIG . 3A
                                      32




       FIG . 3B                                        31
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                                                            FIG . 4A




        FIG . 4B
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                                 FIG . 5
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                                                        60
               63                                             67        63



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                                           FIG . 6A
                69       66                            78
      67
64                                                                            74


     65

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          67
                    69        66                         78   76
                                           FIG . 6B
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                                                                           FIG
                                                                           7A
                                                                           .
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                         98




86


     85



                                                                              7B
                                                                              .
                                                                              FIG




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      64
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        86



        85                                                           86




                    64                                    63

                                      FIG . 70
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                                           74
                                                   63
     60
                                                               45 degrees
       86

                                                               45 degrees
       85                                                 86




                 64                               63

                               FIG . 8
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                                                    US 11,358,755 B2
                    1                                                                             2
    FLEXIBLE FOODSTUFF CONTAINER WITH                              origin of these properties lies essentially in the high stability
                         CLOSURE                                   of the Si— bond ( 106 Kcal/mol ) , and in its strong partial
                                                                   ionic character. Other known uses of silicones are in the
           RELATED PATENT APPLICATION                              manufacturing of containers for liquids ( such as wineskins)
                                                                5 and tubes for transporting substances ( such as the tubes used
   This application claims priority to commonly owned U.S. for blood transfusions).
Provisional Patent Application No. 62 /466,156 ; filed Mar. 2 ,       U.S. Publication 2014/0270579 , incorporated herein by
2017 , which is hereby incorporated by reference herein for reference , discloses a silicone bag . In particular, the publi
all purposes.                                                      cation teaches a bag having a front and back portion which
                                                                10 are comprised of silicone or a similar elastomer. The front
                    TECHNICAL FIELD                                and back portion are identical in size and are sealed together
                                                                   along their sides and bottom with an mouth along the top
   The present disclosure relates generally to the field of portion. The mouth creates a cavity from which items are
sealable cups , bowls and tumblers made of silicone suitable       placed in and stored or transported for further use . A sealing
for foodstuffs.                                                 15 mechanism ( ribs pressed into slots ) on top of the bag seals
                                                                   items in the bag . The bag is molded entirely of silicone ,
                      BACKGROUND                                   including the sealing mechanism , to be water tight.
                                                                      U.S. Publication 2014/0245698 , incorporated herein by
   U.S. Pat. No. 6,197,359 , incorporated herein by reference, reference , discloses a package having a foldable top region .
describes the use of silicone for manufacturing of confec- 20 The package generally includes panel portions that at least
tionery molds and baking receptacles , wherein silicone may partially define an interior cavity therebetween and acces
be used for applications in contact with foodstuffs, in sible through an access mouth . The top portion can provide
particular, methyl- vinyl -polysiloxane obtained by a process a cuff member or cuff region that can be folded and unfolded
of cross - linking with platinum . Silicone is a material of to facilitate use of the package as a bowl or other cuffed
polymeric nature whose chains are made up of alternating 25 container for material contents. The package can be adapted
oxygen and silicon atoms . Silicones are normally prepared to hold its shape as a bowl or cuffed container. A reclosure
by hydrolysis and subsequent polymerisation of alkylhalo- member can be provided to facilitate re - sealing of the
gensilanes ( both acid- and base - catalysed) . The alkylhalo- package . A folding strip , edge contours and stiffening mem
gensilanes are in practice made by a direct process , Cu- bers can also be provided .
catalysed, in which the Si reacts with the corresponding 30 U.S. Publication 2009/0110335 , incorporated herein by
alkyl halide. This process provides mixtures of products , reference , discloses a reclosable food storage bag able to
whose composition can be modified by a process of redis- withstand a wide temperature range manufactured from
tribution to yield the desired monomer. Known in the art are environmentally sensitive materials is disclosed . The bag
silicone elastomers , which are made up of linear polymers. can be manufactured from such materials as silicone rubber
A cross - linking phase is required in order to provide the 35 and thermoset resins. By using such materials, the bag can
elastic properties. The most common elastomers are those easily withstand the temperature ranges encountered in
deriving from dichloromethylsilane, with molecular weights residential kitchens extending from the freezer to the oven
ranging between 300,000 and 700,000 . They are made by a and all ambient temperatures therebetween . In addition , by
prepolymerisation that provides octamethylcyclotetrasi- manufacturing the bag from such materials, the environmen
loxane, purification thereof and subsequent polymerisation 40 tal impact of using petroleum based polymers is avoided .
in the presence of a small quantity of monofunctional            U.S. Pat . No. 9,371,153 , incorporated herein by reference,
material in order to control the molecular weight, followed discloses aa container made of an elastomer such as silicone
by a cross - linking similar to curing, in the presence of with an integrated leak resistant seal having press - fit ele
peroxides, which lends the material its elastic properties. ments . The sizes and shapes of the press - fit elements seal the
Other important elastomers are those that contain a small 45 mouth to resist leakage of liquids from inside the container.
proportion (0.1 % molar ) of vinyl groups linked to silicon , No external clips or clasps are needed for the seal . Extended
which undergo much more effective curing , and those that flaps facilitate pulling the sides open . The container itself
contain between 10 and 15 % molar of phenyl groups, and may be of asymmetrical shape, e.g. trapezoidal.
good elastic properties at low temperatures. Elastomers of a
much lower molecular weight ( 10,000 to 100,000) can be 50                                SUMMARY
obtained by using linear polymer chains ending in silanol
groups, which can be cured at room temperature by reaction           In accordance with the teachings of the present disclosure,
with an alkoxylane. In general, the most important charac- sealable cups , bowls and tumblers made of silicone suitable
teristic of the silicone elastomers is the fact that they present for foodstuffs are provided.
a very broad thermal spectrum of use ( from –50 ° C. to 200 ° 55 An aspect of the invention provides a sealable container
C. ) without a significant alteration of their properties. They    comprising: a base having a geometric shape; sides extend
have good electrical insulation properties, do not self-oxi-       ing from the base and defining a mouth opposite the base ,
dise or undergo attack by chemical agents in aqueous               wherein cross - sections of the sides parallel to the base have
medium and swell in the presence of non - polar organic            a geometric shape; and a seal of the mouth comprising: a
solvents, although some special types that contain fluoro- or 60   first zipper member and a second zipper member, wherein
cyano - groups offer greater resistance to this process . Sili-    when the seal is closed to seal the mouth the first and second
cone elastomers find their widest industrial application as zipper members engage each other to make the seal and
electrical insulators, fluid -repellents and oxidation protec- when the seal is open the first and second zipper members
tors , and in the manufacturing of hermetic gaskets. The disengage to break the seal , wherein the base , sides and seal
silicones are highly inert materials, and they repel water. 65 comprise silicone , wherein the base and at least a portion of
Silicone is inert to chemical agents, with the exception of the sides adjacent the base are of sufficient thickness and
strong bases and acids , and its toxicity is generally low . The rigidity for the container to freely stand vertically on its base
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with the mouth at the top , and wherein the seal and at least       Embodiments of the present invention provide a cup or a
a portion of the sides defining the mouth are sufficiently      bowl that stands on its own and zips at the top like a
flexible to allow the seal and side portion to be deformed      re - sealable zipper storage bag . The cup or bowl may be
between open and closed mouth configurations.                   made with silicone in one piece , be flexible , be food grade,
   A further aspect of the invention provides a sealable 5 and be dishwasher /microwave safe. The cup or bowl may be
container comprising: a base having a geometric shape ; used as a dish /cup. The cup or bowl may be used as a storage
sides connected to the base and defining an mouth opposite container        . In particular, the cup or bowl may be great for
the base , wherein cross -sections of the sides have a geomet travel    .
ric shape; and a seal of the mouth , wherein the base and at 10 topThe    material may be thicker at the base for stability. The
                                                                      may be thinner and more flexible . The zipper may be a
least a portion of the sides adjacent the base are sufficiently tongue     and groove configuration wherein a male portion is
rigid to resist deformation in response to applied forces,
wherein the mouth and at least a portion of the sides adjacent mated      with a female portion to make the seal . The zipper
the mouth are sufficiently flexible to allow the mouth to be may        be a dual zipper or triple zipper. A clasp may be
                                                                assembled to the exterior of the zipper for sliding along the
deformed    between open and closed configurations, and 15 zipper to assist with the mouth and/ or closing of the zipper..
wherein the base , sides and seal are integrally formed of
silicone .
                                                                    In one embodiment, the zipper portion and the container
                                                                portion may be molded as one unitary whole of the same
       BRIEF DESCRIPTION OF THE DRAWINGS
                                                                material throughout. Alternatively, the zipper portion may be
                                                                   made from a harder durometer or different material inserted
                                                                20 into the mold , so that it may be a dual -durometer or
  A more complete understanding of the present embodi-         co-molded product.
ments may be acquired by referring to the following descrip-      In another embodiment, the zipper members may be
tion taken in conjunction with the accompanying drawings,      separate pieces joined to a zipper slot of the container piece
in which like reference numbers indicate like features .       by glue , adhesive, tape, weld , bond , etc. Silicone adhesives
   FIGS . 1A and 1B illustrate perspective views of a short 25 are commercially available from LocTite, 3M and GE .
container in an open configuration.                              Alternatively, because silicone bonds well to silicone , sili
   FIGS . 1C , 1D and 1E show end, side and bottom views, cone may be used to join the zipper members to the
respectively, of the short container of FIGS . 1A and 1B .       container. According to one process, the zipper members and
   FIGS . 1F and 16 illustrate perspective views of a short container may be made to adhere by placing them in contact
container in aa closed configuration .                        30 when the silicone material is not fully crosslinked ( cured )
   FIGS . 1H , 11 and 14 show end , side and bottom views, after being separately molded . In this case , it is preferable
            2

respectively, of the short container of FIGS . 1F and 16 .       not to postbake the parts prior to performing the silicone
   FIGS . 2A and 2B illustrate perspective views of a tumbler adhesion step . Alternatively, the zipper members may first
in an open configuration .                                       be separately molded and then placed inside the container
   FIGS . 2C , 2D and 2E show end, side and bottom views, 35 mold so that when the container is molded, the zipper
respectively , of the tumbler of FIGS . 2A and 2B .              members become “ overmolded ” or “ encapsulated ” by the
   FIGS . 2F and 2G illustrate perspective views of a tumbler liquid silicone being injected in the mold to form the
in a closed configuration.                                       container, and thereby become joined to the container.
   FIGS . 2H , 21 and 2J show end, side and bottom views,           According to certain embodiments of the invention , one
respectively, of the tumbler of FIGS . 2F and 2G .            40 feature is to have a free standing container with a zipper seal
   FIGS . 3A and 3B illustrate perspective views of aa bowl in of the mouth at the top , wherein the mouth remains open
open and closed configurations, respectively.                    when unsealed . A benefit to users is that the mouth of the
   FIGS . 4A and 4B illustrate perspective views of a tall contain remains open in a free standing position , so users
container in open and closed configurations, respectively . may pour or spoon contents into or out of the container
   FIG . 5 illustrates a perspective view of aa tumbler in an 45 without having to hold open the mouth of the container. To
open configuration .                                             enable this feature, the container may be silicone molded in
   FIGS . 6A and 6B show a cross - sectional end view of a in an open position , so that the finished container naturally
portion of a tumbler, wherein enlarged views of the zipper wants to assume an open position . The zipper members may
members are shown in FIG . 6B .                                  be silicone molded in straight molds so that by themselves
   FIG . 7A shows a zipper slot and a slot end in a side of a 50 they naturally tend to assume straight positions . When the
tumbler.                                                         zipper members are then joined in the zipper slots of the
   FIG . 7B shows a zipper member in the zipper slot and container, the combination tends to cause the mouth of the
terminating at the slot end .                                    container to naturally assume an open eye - shape when
   FIG . 7C shows a cross - sectional top view of aa tumbler free -standing
taken at the zipper members and zipper slot , wherein the 55 The figures show perspective , side and end views of
zipper members terminate at a slot end .                         separate cups , bowls or containers . Each cup , bowl or
   FIG . 8 shows a cross - sectional top view of a tumbler container is made of a flexible material that is sufficiently
taken at the zipper members and zipper slot , wherein the rigid in the base regions to stand on their own , but suffi
zipper members terminate in the slot tip .                       ciently flexible in the closure region to allow the mouths to
                                                              60 transition between open and closed configurations.
                 DETAILED DESCRIPTION                               FIGS . 1A - 1J show perspective, side and end views of a
                                                                 short container. The short container 10 comprises a base 11
   Preferred embodiments are best understood by reference that is generally oval in shape. The short container 10 further
to FIGS . 1-8 below in view of the following general dis- comprises a mouth 12 at the top , wherein the mouth is
cussion . The present disclosure may be more easily under- 65 generally circular when open and general linear when
stood in the context of a high level description of certain closed . The base 11 comprises a wall thickness and material
embodiments .                                                    composition that has sufficient stiffness or rigidity to resist
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deformation in response to applied forces . The mouth 12               wherein the view from each end is identical . FIG . 2D is a
comprises wall thicknesses and material compositions that side view of the tumbler 20 in an open configuration,
are sufficiently flexible or pliable to allow the mouth 12 to wherein the views from both the front and back are identical.
be deformed between open and closed configurations. In one FIG . 2E is a bottom view of the tumbler 20 in an open
embodiment, the short container 10 may have wall thick- 5 configuration.
nesses or rigidity that vary uniformly from the base 11 to the        FIG . 2F is a perspective view of the tumbler 20 in a closed
mouth 12 , wherein the wall thicknesses are thicker or more configuration wherein the view is looking down at the closed
rigid at the base 11 and thinner or less rigid at the mouth 12 . mouth 22 of the tumbler 20. FIG . 2G is a perspective view
The short container 10 may have a zipper slot 13 near the of the tumbler 20 in a closed configuration wherein the view
mouth 12 to seal the mouth in a closed configuration .          10 is looking up toward the base 21. FIG . 2H is an end view of
   FIG . 1A is a perspective view of the short container 10 in the tumbler 20 in a closed configuration, wherein the view
an open configuration wherein the view is looking down from each end is identical. FIG . 21 is a side view of the
through the mouth into the interior of the short container 10 . tumbler 20 in aa closed configuration, wherein the views from
FIG . 1B is a perspective view of the short container 10 in an         both the front and back are identical. FIG . 2J is a bottom
open configuration wherein the view is looking up toward 15 view of the tumbler 20 in aa closed configuration.
the base 11. FIG . 1C is an end view of the short container 10            In alternative embodiments, the base 21 of the tumbler 20
in an open configuration , wherein the view from each end is may be any geometric shape , for example, square , rectangle,
identical. FIG . 1D is aa side view of the short container 10 in triangle, octagon , hexagon , oval , etc. Further, the mouth 22
an open configuration, wherein the views from both the front may also be of any geometric shape. Still further, cross
and back are identical. FIG . 1E is aa bottom view of the short 20 sections of the tumbler 20 between the base 21 and the
container 10 in an open configuration.                             mouth 22 may be of any geometric shape. In some embodi
   FIG . 1F is a perspective view of the short container 10 in ments of the invention, the base 21 , mouth 22 , and cross
a closed configuration wherein the view is looking down at             sections between the base 21 and mouth 22 all have the same
the closed mouth 12 of the short container 10. FIG . 1G is a           geometric shape. In still other embodiments of the invention ,
perspective view of the short container 10 in a closed 25 the base 21 , mouth 22 , and cross - sections between the base
configuration wherein the view is looking up toward the 21 and mouth 22 have different geometric shapes.
base 11. FIG . 1H is an end view of the short container 10 in      FIG . 3A is a perspective view of the bowl 30 in an open
a closed configuration , wherein the view from each end is configuration wherein the view is looking down through the
identical. FIG . 11 is a side view of the short container 10 in mouth 32 into the interior of the bowl 30. A zipper slot 33
a closed configuration, wherein the views from both the 30 is just inside the mouth 32. The bowl 30 stands vertically
front and back are identical. FIG . 1 ) is aa bottom view of the upright on a base 31. FIG . 3B is a perspective view of the
short container 10 in a closed configuration .                         bowl 30 in a closed configuration wherein the view is
   In alternative embodi ents, the base 11 of the short                looking down at the closed mouth 32 of the bowl 30 .
container 10 may be any geometric shape, for example,                     FIG . 4A is a perspective view of a tall container 40 in an
square, rectangle, triangle, octagon, hexagon , oval, etc. 35 open configuration wherein the view is looking down
Further, the mouth 12 may also be of any geometric shape .             through the mouth 42 into the interior of the tall container
Still further, cross - sections of the short container 10 between      40. The tall container 40 stands vertically on its base 41 with
the base 11 and the mouth 12 may be of any geometric                   the mouth 42 at the top . A zipper slot 43 is just inside the
shape. In some embodiments of the invention , the base 11 ,            mouth 42. FIG . 4B is a perspective view of the tall container
mouth 12 , and cross - sections between the base 11 and mouth       40 40 in a closed configuration wherein the view is looking
12 all have the same geometric shape. In still other embodi-           down at the closed mouth 42 of the tall container 40 .
ments of the invention, the base 11 , mouth 12 , and cross-               FIG . 5 shows a perspective view of a tumbler 50. The
sections between the base 11 and mouth 12 have different               tumbler 50 comprises a base 51 that is circular in shape. The
geometric shapes.                                              tumbler 50 further comprises a mouth 52 at the top , wherein
  FIGS . 2A - 2J show perspective , side and end views of a 45 the mouth 52 is generally circular when open and generally
tumbler. The tumbler 20 comprises base 21 that is gener- linear when closed . The tumbler 50 further comprises a rim
ally circular in shape. The tumbler 20 further comprises a             54 between the base 51 and the mouth 52. The tumbler 50
mouth 22 at the top , wherein the mouth is generally circular comprises a lower wall 55 between the base 51 and the rim
when open and general linear when closed . The base 21 54 having a thickness and material composition that has
comprises a wall thickness and material composition that 50 sufficient stiffness or rigidity to resist deformation in
has sufficient stiffness or rigidity to resist deformation in response to applied forces, so that the tumbler 50 may freely
response to applied forces. The mouth 22 comprises wall stand vertically on its base 51. Further, the tumbler 50 has
thicknesses and material compositions that are sufficiently an upper wall 56 between the base 51 and the rim 54 having
flexible or pliable to allow the mouth 22 to be deformed a wall thickness and material composition sufficiently flex
between open and closed configurations. The tumbler 20 55 ible or pliable to allow the mouth 52 to be deformed between
may have a zipper slot 23 near the mouth 22 to seal the open and closed configurations. In one embodiment, the
mouth in aa closed configuration. The tumbler 20 may have circumference of the upper wall 56 above the rim 54 may be
wall thicknesses and rigidity that vary uniformly from the larger than the circumference of the lower wall 55 below the
base 21 to the mouth 22 , wherein the wall thicknesses are rim 54 , so that the upper wall 56 may be rolled or folded
thicker or more rigid at the base 21 and thinner or less rigid 60 down over the exterior of the lower wall 55 below the rim
at the mouth 22 .                                                 54. In a rolled or folded down configuration , the bowl 50
   FIG . 2A is a perspective view of the tumbler 20 in an open may more fully function as a traditional bowl . To seal the
configuration wherein the view is looking down through the bowl 50 , the upper wall 56 may be unrolled or unfolded to
mouth into the interior of the bowl 20. FIG . 2B is a                  an extended position , as shown in FIG . 5 , and a zipper in the
perspective view of the tumbler 20 in an open configuration 65 zipper slot 53 may be zipped to form a seal . Embodiments
wherein the view is looking up toward the base 21. FIG . 2C of a container, cup or bowl may be similar to the tumbler 50
is an end view of the tumbler 20 in an open configuration ,            shown in FIG . 5 .
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  Some embodiments of the invention, made of silicone,                 79. In particular, the support cantilevers 69 press against the
have base and sidewall thicknesses greater than 0.5 mm . back sides of the hook retainers 78 to support the hook
Other embodiments of the invention, made of silicone, have retainers 78 in engagement with the hook retainers 68 .
base and sidewall thicknesses between about 0.7 mm and Similarly, the support cantilever 79 extends between the
about 1.3 mm . Still further embodiments of the invention , 5 hooks 66 to provide support to the back sides of the hook
made of silicone , have base and sidewall thicknesses of retainers 68 to support the hook retainers 68 in engagement
about 1.0 mm .                                                with the hook retainers 78. The support cantilever 79 has
  The tumblers, cups or bowls may be made of silicone angled side - walls so as to wedge between the hooks 66 .
material that is either transparent or opaque and made to be    Because the zipper members are made of a resilient
any color. The silicone may be of a quality and composition 10 material, i.e. , platinum silicone , the hooks and supports may
appropriate for applications in contact with foodstuffs. In squeeze and bend into position for sealing engagement when
particular, methyl -vinyl-polysiloxane obtained by a process the mouth 62 of the tumbler 60 is closed . The resilient
of cross -linking with platinum may be an appropriate sili- material further provides sufficient rigidity to maintain the
cone . Numeric markers may be added to indicate volumetric             seal when the mouth 62 of the tumbler 60 is closed . Still
measurements within the cups , bowls or tumblers .                15 further, the resilient material is sufficiently flexible to allow
   FIG . 6A shows a cross - sectional end view of an upper             the zipper members to be pulled apart to break the seal and
portion of a tumbler 60. An outward hook zipper member 64              open the mouth 62. The closure and opening force may be
is in the left zipper slot 63. An inward hook zipper member            such that closure and opening may be performed by hand .
67 is in the right zipper slot 63. The inward and outward                 According to one embodiment of the invention , the zipper
hook zipper members 64 and 67 may be secured in the               20   members have certain dimensions . The width of the zipper
zipper slot 63 by any means known to persons of skill, such            slot 63 and the bases 65 and 75 of the zipper members 64 and
as gluing , bonding, fusing, etc. or simply molding the zipper         74 may be about 9.0 mm . The heights of the hooks 66 and
members with the tumbler 60 as a unitary whole.                        76 , from the bottom of the bases 65 and 75 to the most distal
   FIG . 6B shows enlarged views of the outward hook zipper            ends of the hook retainers 68 and 78 , may be about 4.0 mm ,
member 64 and inward hook zipper member 67 of FIG . 6A .          25   so that the combined thickness of a zipper slot , base and
The outward hook zipper member 64 has a base 65 that is                hook is less than 5.0 mm . The width of the hook retainers 68
positioned in the zipper slot 63. From a central portion of the        and 78 may be about 1.7 mm .
base 65 , two hooks 66 extend toward an interior of the                   FIG . 7A shows a perspective view of one side panel of a
tumbler 60. Each hook 66 has a hook cantilever 67 and a                tumbler, wherein a cross - section is taken on the left at a
hook retainer 68 , wherein the hook cantilevers 67 extend         30   center of a side of the tumbler and the other cross - section is
substantially perpendicular from the base 65 , and the hook            taken on the right at an end of the tumbler. The zipper slot
retainers 68 extend from the distal ends of the hook canti-            83 does not have a zipper member in it , for illustration
levers 67 substantially parallel to the base 65. The outward           purposed . The zipper slot 83 has a slot end 85 .
hook zipper member 64 is called " outward hook ” because                  FIG . 7B shows a perspective view of the panel of the
the hook retainers 68 extend in opposite directions from          35   tumbler shown in FIG . 7A , except that an outward hook
each other outward from a center or middle of the member .             zipper member 84 is in the zipper slot 83. The zipper
The outward hook zipper member 64 further comprises two                member 84 butts against the slot end 85 and is secured to it
support cantilevers 69 extending from opposite ends of the             similar to the base of the zipper member being secured in the
base 65 .                                                              zipper slot 83. The slot end 85 is formed by a tip 86 , shown
   FIG . 6B further illustrates that the inward hook zipper       40   in cross - section in FIG . 7B .
member 74 has a base 75 that is positioned in the zipper slot             FIG . 7C is a cross - sectional top view of the tumbler
63 opposite the outward hook zipper member 64. From the                shown in FIGS . 7A and 7B . The inward hook zipper member
opposite end portions of the base 75 , two hooks 76 extend             74 is positioned in the zipper slot 83 of one side of the
toward an interior of the tumbler 60. Each hook 76 has a               tumbler 60. The outward hook zipper member 64 is posi
hook cantilever 77 and a hook retainer 78 , wherein the hook      45   tioned in the zipper slot 83 of the other side of the tumbler
cantilevers 77 extend substantially perpendicular from the             60. The tumbler 60 has relatively thick tips 86 at opposite
base 75 , and the hook retainers 78 extend from the distal             ends of the mouth 62. The tips 86 form the slot ends 85 .
ends of the hook cantilevers 77 substantially parallel to the          Further, the tips 86 provide “ handles” for a user to hold the
base 75. The inward hook zipper member 74 is called                    tumbler 60 while closing the zipper members 64 and 74
“ inward hook ” because the hook retainers 78 extend in           50   together. The zipper members terminate at the slot ends 85
opposite directions toward each other and inward toward a              and are secured to the slot ends 85 to completely seal the
center or middle of the member. The inward hook zipper                 mouth 62 of the tumbler 60 when closed . The zipper
member 74 further comprises a support cantilever 79                    members 64 and 74 " cross over ” each other at the slot ends
extending from a central portion of the base 75 .                      85 so that the hooks 66 and 76 are completely engaged at the
   With reference to FIGS . 6A and 6B , the zipper members        55   slot ends 85 , even when the mouth 62 of the tumbler 60 is
mate to seal the tumbler 60 by interlocking the hook                   open as shown in FIG . 7C . To close the mouth 62 , user
retainers . In particular, the hooks 66 of the outward hook            simply squeezes the sides of the mouth 62 together and
zipper member 64 are inserted into the respective corre-               pinches the zipper members 64 and 74 together until the
sponding spaces between the hooks 76 and the support                   hooks 66 and 76 are completely engaged .
cantilever 79 of the inward hook zipper member 74. Simul-         60      FIG . 8 is aa cross - sectional top view of a tumbler 60. The
taneously, the hooks 76 of the inward hook zipper member               inward hook zipper member 74 is positioned in the zipper
74 are inserted into the respective corresponding spaces     slot 83 of one side of the tumbler 60. The outward hook
between the hooks 66 and the support cantilevers 69. The zipper member 64 is positioned in the zipper slot 83 of the
hooks 66 and 76 are inserted into the spaces until the hook other side of the tumbler 60. A tip 86 is formed at each end
retainers 68 engage behind the hook retainers 78 and vise 65 of the mouth . The wall thicknesses in the region of the tip is
versa . The hook retainers 78 are supported to remain approximately the same as the side walls forming the mouth
engaged with each other by the support cantilevers 69 and 62 and the zipper slot 63. The zipper members 64 and 74
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extend all the way to the tips 86 and “ cross over ” each other that they are engaged at the first and second tips of the mouth
at the tips 86. The ends of the zipper members are angled at when the mouth is both in the open configuration and the
about 45 degrees, so that when the zipper members are closed configuration .
closed together, they seal the zipper at the tips 86                      3. The sealable container, as claimed in claim 1 , wherein
   Although the disclosed embodiments are described in 5 the base , the plurality of sides, and the seal comprise
detail in the present disclosure, it should be understood that silicone .
various changes, substitutions and alterations can be made to
the embodiments without departing from their spirit and the4.silicone        The sealable container, as claimed in claim 3 , wherein
                                                                                      comprises platinum silicone.
scope .
   What is claimed is :                                             10
                                                                          5. The  sealable  container, as claimed in claim 1 , wherein
   1. A sealable container comprising:                                 the first and  second zipper members of the seal are joined to
   a base having a geometric shape ;                                   the  interior faces of the first and second sides , respectively,
   a plurality of sides extending from the base to form the crosslink .by joints  selected from  adhesive, glue , tape, weld, bond and
      container, wherein a cross - section of the plurality of
      sides parallel to the base has a geometric shape sub- 15 6. The sealable container, as claimed in claim 1 , wherein
      stantially the same as the geometric shape of the base , the entire container, including the base , the plurality of sides ,
      wherein the base and at least a portion of the plurality and the seal , comprises a unitary body, with no joints nor
      of sides adjacent the base are of sufficient thickness and components joined together.
      rigidity to enable the container to freely stand vertically         7. The sealable container, as claimed in claim 1 , wherein
      on its base ;                                                 20 the first and second zipper members of the seal are joined to
   a mouth defined by the sides opposite the base , the mouth the interior faces of the first and second sides , respectively,
      comprising :                                                     by portions of the seal being overmolded with silicone
      a first tip formed by the sides at a first end of the mouth , forming the sides .
      a second tip formed by the sides at a second end of the             8. The sealable container, as claimed in claim 1 , wherein
         mouth ,                                                    25 the first zipper member comprises a male portion and the
      a first side of the plurality of sides extending from the second zipper member comprises a female portion, wherein
         first tip of the mouth to the second tip of the mouth , the male and female portions are engageable and disengage
      a second side of the plurality of sides opposite the first able .
         side and extending from the first tip of the mouth to            9. The sealable container, as claimed in claim 1 , wherein
         the second tip of the mouth,                               30 the container comprises at least two portions having differ
   a seal of the mouth comprising :                                    ent durometers.
      a first zipper member extending from an interior face of            10. The sealable container, as claimed in claim 1 , wherein
         the first side of the plurality of sides from the first tip the geometric shape of the base is circular and the geometric
         of the mouth to the second tip of the mouth ,                 shape of the cross - section of the plurality of sides parallel to
      a second zipper member extending from an interior 35 the base is substantially circular, and the container further
         face of the second side of the plurality of sides from comprises another cross - section of the plurality of sides
         the first tip of the mouth to the second tip of the parallel to the base having a substantially elliptical geomet
         mouth so that the second zipper member is opposite ric shape.
         the first zipper member,                                         11. The sealable container, as claimed in claim 1 , wherein
     wherein at least portions of the first and second zipper 40 the geometric shape of the base comprises two straight sides
       members are sufficiently resilient to be sealingly and two semicircular sides and wherein the geometric shape
       engageable with each other to maintain the seal of of the cross - section of the plurality of sides parallel to the
       the mouth and disengageable between the first and base comprises two substantially straight sides and two
       second tips to break the seal of the mouth ,        substantially semi-circular sides .
  wherein the mouth and seal are configured to automati- 45 12. The sealable container, as claimed in claim 1 , wherein
    cally assume an open configuration when the container the base and sides have thicknesses greater than 0.5 mm .
     freely stands vertically on its base with the mouth at the            13. The sealable container, as claimed in claim 1 , wherein
     top and the first and second zipper members are dis-               the base and sides have thicknesses between 0.7 mm and 1.3
    engaged , the open configuration comprising an eye mm .
    shape with the first and second tips at opposite ends of 50 14. The sealable container, as claimed in claim 1 , wherein
    the eye -shape,                                             the thickness of each of the first and second zipper members
  wherein the mouth and seal are configured to assume a of the seal is between 4.0 mm and 5.0 mm .
    closed configuration when the first and second zipper          15. A sealable container comprising:
    members are engaged with each other, and the first and         a base having a geometric shape ;
    second zipper members are generally linear in the 55 a plurality of sides extending from the base to form the
    closed configuration , and                                        container, wherein a cross - section of the plurality of
  wherein the first and second sides adjacent the mouth and           sides parallel to the base has a geometric shape sub
    the first and second zipper members comprise wall                 stantially the same as the geometric shape of the base ,
    thicknesses and material compositions that are suffi-             wherein the base and at least a portion of the plurality
    ciently flexible or pliable to be deformable between the 60       of sides adjacent the base are between 0.7 mm and 1.3
    open configuration and the closed configuration , and             mm thick and have sufficient rigidity to enable the
  wherein at the first and second tips , ends of the first and        container to freely stand vertically on its base ;
    second zipper members are angled at about 45 degrees,          a mouth defined by the sides opposite the base , the mouth
    so that when the zipper members are engaged , they seal           comprising:
     the mouth at the tips .                                       65        a first tip formed by the sides at a first end of the mouth ,
  2. The sealable container, as claimed in claim 1 , wherein                 a second tip formed by the sides at a second end of the
the first and second zipper members cross over each other so                    mouth ,
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                              11                                                                        12
     a first side of the plurality of sides extending from the                 between 0.7 mm and 1.3 mm thick and have sufficient
        first tip of the mouth to the second tip of the mouth ,                rigidity to enable the container to freely stand vertically
     a second side of the plurality of sides opposite the first                on its base ;
        side and extending from the first tip of the mouth to               a silicone mouth defined by the sides opposite the base ,
       the second tip of the mouth,                                  5        the mouth comprising:
  a seal of the mouth comprising :                                             a first silicone tip formed by the sides at a first end of
    a first zipper member extending from an interior face of                     the mouth ,
       the first side of the plurality of sides from the first tip             a second silicone tip formed by the sides at a second
      of the mouth to the second tip of the mouth ,                               end of the mouth ,
    a second zipper member extending from an interior 10                       a first silicone side of the plurality of sides extending
      face of the second side of the plurality of sides from                      from the first tip of the mouth to the second tip of the
      the first tip of the mouth to the second tip of the                         mouth ,
      mouth so that the second zipper member is opposite                       a second silicone side of the plurality of sides opposite
      the first zipper member,                                                    the first side and extending from the first tip of the
    wherein at least portions of the first and second zipper 15                   mouth to the second tip of the mouth ,
      members are sufficiently resilient to be sealingly                    a silicone seal of the mouth comprising:
      engageable with each other to maintain the seal of                       a first silicone zipper member extending from an inte
      the mouth and disengageable between the first and                           rior face of the first side of the plurality of sides from
      second tips to break the seal of the mouth ,                                the first tip of the mouth to the second tip of the
  wherein the mouth and seal are configured to automati- 20                       mouth ,
    cally assume an open configuration when the container                      a second silicone zipper member extending from an
    freely stands vertically on its base with the mouth at the                    interior face of the second side of the plurality of
    top and the first and second zipper members are dis                           sides from the first tip of the mouth to the second tip
    engaged, the open configuration comprising an eye                             of the mouth so that the second zipper member is
    shape with the first and second tips at opposite ends of 25                   opposite the first zipper member,
    the eye - shape,                                                          wherein at least portions of the first and second zipper
  wherein the mouth and seal are configured to assume a                           members are sufficiently resilient to be sealingly
    closed configuration when the first and second zipper                         engageable with each other to maintain the seal of
    members are engaged with each other, and the first and                        the mouth and disengageable between the first and
    second zipper members are generally linear in the 30                          second tips to break the seal of the mouth ,
    closed configuration,                                                   wherein the mouth and silicone seal are configured to
  wherein the first and second sides adjacent the mouth and                    automatically assume an open configuration when the
    the first and second zipper members comprise wall                          container freely stands vertically on its base with the
    thicknesses and material compositions that are suffi                      mouth at the top and the first and second zipper
    ciently flexible or pliable to be deformable between the 35               members are disengaged , the open configuration com
    open configuration and the closed configuration , and                     prising an eye - shape with the first and second tips at
  wherein at the first and second tips , ends of the first and                opposite ends of the eye -shape,
    second zipper members are angled at about 45 degrees ,                  wherein the first and second sides adjacent the mouth and
    so that when the zipper members are engaged , they seal 40                the first and second zipper members are deformable
     the mouth at the tips , and                                              between the open configuration and a closed configu
   wherein the first and second zipper members cross over                     ration, the first and second zipper members are gener
      each other so that they are engaged at the first and                    ally linear in the closed configuration ,
      second tips of the mouth when the mouth is both in the                wherein the mouth and seal are configured to assume the
      open configuration and the closed configuration.                        closed configuration when the first and second zipper
   16. The sealable container, as claimed in claim 15 ,              45       members are engaged with each other, and the first and
wherein the base , the plurality of sides , and the seal com                  second zipper members are generally linear in the
prise silicone.                                                               closed configuration,
   17. The sealable container, as claimed in claim 15 ,                     wherein the entire container, including the silicone base ,
wherein the entire container, including the base , the plurality              the plurality of silicone sides, and the silicone seal ,
of sides, and the seal , comprises a unitary body, with no           50        comprises a unitary body, with no joints nor compo
joints nor components joined together.                                        nents joined together, and
   18. A silicone sealable container comprising:                            wherein at the first and second tips , ends of the first and
   a silicone base having a geometric shape ;                                 second zipper members are angled at about 45 degrees,
   a plurality of silicone sides extending from the base to                    so that when the zipper members are engaged, they seal
     form the container, wherein a cross - section of the 55                   the mouth at the tips .
     plurality of silicone sides parallel to the base has a                 19. The sealable container, as claimed in claim 18 ,
     geometric shape substantially the same as the geomet                 wherein the container comprises at least two portions having
     ric shape of the base , wherein the base and at least a              different durometers.
     portion of the plurality of sides adjacent the base are                                         *
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                                                                  EXHIBIT B
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                                                     EXHIBIT C

                US 11,358,755                                    Accused Instrumentalities

1. A sealable container comprising:




a base having a geometric shape;
a plurality of sides extending from the base to
form the container, wherein a cross-section of
the plurality of sides parallel to the base has a
geometric shape substantially the same as the
geometric shape of the base, wherein the base
and at least a portion of the plurality of sides
adjacent the base are of sufficient thickness
and rigidity to enable the container to freely
stand vertically on its base;
a mouth defined by the sides opposite the base,
the mouth comprising:
a first tip formed by the sides at a first end of
the mouth,
a second tip formed by the sides at a second
end of the mouth,
a first side of the plurality of sides extending
from the first tip of the mouth to the second tip
of the mouth,
a second side of the plurality of sides opposite
the first side and extending from the first tip of
the mouth to the second tip of the mouth,




                                                        C1
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a seal of the mouth comprising:
a first zipper member extending from an
interior face of the first side of the plurality of
sides from the first tip of the mouth to the
second tip of the mouth,
a second zipper member extending from an
interior face of the second side of the plurality
of sides from the first tip of the mouth to the
second tip of the mouth so that the second
zipper member is opposite the first zipper
member,




wherein at least portions of the first and second
zipper members are sufficiently resilient to be
sealingly engageable with each other to
maintain the seal of the mouth and
disengageable between the first and second tips
to break the seal of the mouth,




wherein the mouth and seal are configured to
automatically assume an open configuration
when the container freely stands vertically on
its base with the mouth at the top and the first
and second zipper members are disengaged,
the open configuration comprising an eye-
shape with the first and second tips at opposite
ends of the eye-shape,




                                                      C2
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wherein the mouth and seal are configured to
assume a closed configuration when the first
and second zipper members are engaged with
each other, and the first and second zipper
members are generally linear in the closed
configuration, and




wherein the first and second sides adjacent the
mouth and the first and second zipper members
comprise wall thicknesses and material
compositions that are sufficiently flexible or
pliable to be deformable between the open
configuration and the closed configuration, and



wherein at the first and second tips, ends of the
first and second zipper members are angled at
about 45 degrees, so that when the zipper
members are engaged, they seal the mouth at
the tips.




                                                    C3
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                                                    EXHIBIT D

               US 11,383,890                                      Accused Instrumentalities

1. A silicone container making process, the         35 U.S.C. §271(g) – “Whoever without authority imports into
process comprising:                                 the United States or offers to sell, sells, or uses within the
                                                    United States a product which is made by a process patented in
                                                    the United States shall be liable as an infringer, if the
                                                    importation, offer to sell, sale, or use of the product occurs
                                                    during the term of such process patent.”

placing a first mold in proximity with at least a                                 The “parting line” evidences
second mold to define a mold cavity of                                            the use of two molds forming a
sufficient size and shape to mold a unitary                                       cavity to shape and mold the
whole container;                                                                  unitary whole container.




mixing a base-forming material and a catalyst
to make uncured silicone;
                                                    “PLATINUM SILICONE Reusable, food grade silicone”
putting the uncured silicone into the mold
cavity;
curing the uncured silicone by applying heat
and pressure to the uncured silicone in the
mold cavity until the silicone cures to form the
unitary whole container comprising:




a container portion defining a mouth, wherein
the mouth has at least one flexible spout and
first and second interior sides opposite each
other;




                                                        D1
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a zipper portion comprising:
a female zipper member extending from the
first interior side of the mouth, the female
zipper member comprising:
a female middle section comprising two
middle flanges defining a middle channel
between the two middle flanges, and
at least one female end section proximate the at
least one flexible spout and comprising two
end flanges extending from the first interior
side of the mouth to define an end channel
between the two end flanges,
wherein the two middle flanges extend farther
from the first interior side of the mouth than
the two end flanges;




                                                   D2
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a male zipper member extending from the
second interior side of the mouth, wherein the
female and male zipper members are
positioned opposite each other so as to be
engageable when closing the mouth, the male
zipper member comprising:
a male middle section comprising a middle
trunk; and
at least one male end section proximate the at
least one flexible spout comprising an end
trunk,
wherein the middle trunk extends farther from
the second interior side of the mouth than the
end trunk;




opening the first mold relative to the at least            The “parting line” evidences
second mold; and                                           the use of two molds forming a
                                                           cavity to shape and mold the
removing the container from the mold cavity.
                                                           unitary whole container.




                                                  D3
